Case:23-

10835-SDB Doc#:16-1 Filed:12/04/23 Entered:12/04/23 10:40:05 Page:1 of 3

IN THE UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF GEORGIA
AUGUSTA DIVISION

Case No. 23-10835-SDB
MARY ANN JORDAN,

Debtor.

AFFIDAVIT OF NATHAN E. HUFF

NOW COMES Nathan E. Huff and states under as follows:

J am an attorney at law, duly licensed to practice law in the State of Georgia. I am a partner
of Cleary, West & Huff, LLP and our principal office is located at 1223 George C. Wilson
Dr., Augusta, GA 30909.

1 am not affiliated in any way, other than being Debtor’s lawyer, with Debtor.

To the best of my knowledge, none of the employees, principals or attorneys of Cleary,
West & Huff, LLP hold or represent any interest adverse to Debtor. I am and all employees,
principals and attorneys of Cleary, West & Huff, LLP are disinterested persons as set forth
in the Bankruptcy Code.

I, along with the other attorneys at my firm, have considerable experience in civil litigation.
On behalf of Debtor, I filed the complaint against Defendants named in the Application to
Employee on July 23, 2023 in the Richmond County Superior Court.

The case remains open and discovery is ongoing.

Prior to the filing the complaint, Debtor made a payment of $1,500.00 as a retainer. The
agreement between me and Debtor was a fee based on an hourly rate of $200.00.

This affidavit is made in connection with the application by Debtor to employ Nathan E.
Huff and Cleary, West & Huff, LLP to represent her in the matters set forth in Debtor’s

application.
Case:23-10835-SDB Doc#:16-1 Filed:12/04/23 Entered:12/04/23 10:40:05 Page:2 of 3

ff

Sworn to and subscribed before me

is 4" day offDecember, 2023. Nathan ENduff/_ 7

Case:23-10835-SDB Doc#:16-1 Filed:12/04/23 Entered:12/04/23 10:40:05 Page:3 of 3

CERTIFICATE OF SERVICE
The undersigned hereby certifies that he has served the foregoing on the following by filing

the foregoing with the ECF System and by delivering the same to the following:

Mary Ann Jordan
PO Box 788
Wrens, GA 30833

Huon Le, Trustee
PO Box 2127
Augusta, GA 30903

Matthew James Duncan, Esq.

Duncan & Brow, Attorneys at Law, LLLP
3574 Riverwatch Parkway

Augusta, GA 30907

This 4" day of December, 2023.

/s/Nathan E. Huff
Nathan E. Huff

